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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

PATRICIA KENNEDY,                       )
                                        )
      Plaintiff,                        )
                                        )      CIVIL ACTION
vs.                                     )
                                        )      FILE No. 1:20-cv-02016-AT
PINE TREE LODGE, LLC, d/b/a             )
BUDGETEL ATLANTA,                       )
                                        )
      Defendant.                        )

                           NOTICE OF SETTLEMENT

      NOTICE IS HEREBY GIVEN that all claims pending in this matter have

been resolved to the satisfaction of Plaintiff and Defendant. Plaintiff and

Defendant hereby respectfully request that this Court administratively close the file

(alleviating the answer deadline) to allow thirty (30) days within which to

complete the settlement, during which time Plaintiff and Defendant request that the

Court retain jurisdiction over this matter until fully resolved.

      Respectfully submitted this 31st day of July, 2020.

                                        KITCHENS KELLEY GAYNES, P.C.

                                        By:    /s/ C. Joseph Hoffman
                                               C. Joseph Hoffman
                                               Georgia Bar No. 984961
                                               Attorney for Defendant
        Case 1:20-cv-02016-AT Document 19 Filed 07/31/20 Page 2 of 4




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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a font size of 14.

                                          /s/ C. Joseph Hoffman
                                          C. Joseph Hoffman




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically filed the foregoing

NOTICE OF SETTLEMENT with the Clerk of Court using the CM/ECF system

which will automatically serve a copy of such filing, and via U.S. First Class Mail,

postage prepaid, addressed as follows:


                            Tristan W. Gillespie, Esq.
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                             5150 Cottage Farm Road
                           Johns Creek, Georgia 30022
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                         Philip Michael Cullen, III, Esq.
              Philip Michael Cullen, II Attorney at Law -- Chartered
                               621 S. Federal Hwy.
                         Fort Lauderdale, Florida 33301
                                culleniii@aol.com

      This 31st day of July 2020.

                                         KITCHENS KELLEY GAYNES, P.C.

                                         By:   /s/ C. Joseph Hoffman
                                               C. Joseph Hoffman
                                               Georgia Bar No. 984961
                                               Attorney for Defendant

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